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           EXHIBIT A
                  Case 1:20-cv-07311-LAK Document 256-1 Filed 01/12/24 Page 2 of 11




From:                             Hon. Arthur Engoron
Sent:                             Wednesday, January 10, 2024 12:1 2 PM
To:                               chris kise
Cc:                               Allison R. Greenfield; kevin.wallace@ag.ny.gov; Clifford Robert; Alina Habba;
                                  ckise@continentalpllc.com; Amer, Andrew; Faherty, Colleen
Subject:                          RE: People v. Trump, et al., No. 452564/2022 - Closing Arguments January 11th



Dear Mr. Kise,

Not having heard from you by the third extended deadline (noon today), I assume that Mr. Trump will not agree to the
reasonable, lawful limits I have imposed as a precondition to giving a closing statement above and beyond those given
by his attorneys, and that, therefore, he will not be speaking in court tomorrow.

As I previously indicated, this email chain will docketed on NYSCEF to preserve your appellate rights.

Justice Engoron


From: Hon. Arthur Engoron
Sent: Wednesday, January 10, 2024 11:54 AM
To: chris kise <chris@ckise.net>
Cc: Allison R. Greenfield <argreenf@nycourts.gov>; kevin.wallace@ag.ny.gov; Clifford Robert
<crobert@robertlaw.com>; Alina Habba <ahabba@habbalaw.com>; ckise@continentalpllc.com; Amer, Andrew
<Andrew.Amer@ag.ny.gov>; Faherty, Colleen <Colleen.Faherty@ag.ny.gov>
Subject: RE: People v. Trump, et al., No. 452564/2022 - Closing Argument s January 11th

Dear M r. Kise,

I won't debate this yet again. Take it or leave it. Now or never. You have until noon, seven minutes from now. I WILL
NOT GRANT ANY FURTHER EXTENSIONS.

Justice Engoron


From: chris kise <chris@ckise.net>
Sent: Wednesday, January 10, 2024 11:40 AM
To: Hon. Arthur Engoron <aengoron@nycourts.gov>
Cc: Allison R. Greenfield <argreenf@nycourts.gov>; kevin.wallace@ag.ny.gov; Clifford Robert
<crobert@robertlaw.com>; Alina Habba <ahabba@habbalaw.com>; ckise@continentalpllc.com; Amer, Andrew
<Andrew.Amer@ag.ny.gov>; Faherty, Colleen <Colleen.Faherty@ag.ny.gov>
Subject: Re: People v. Trump, et al., No. 452564/ 2022 - Closing Arguments January 11th

Justice Engoron

This is very unfair, your Honor. You are not allowing President Trump, who has been
wrongfully demeaned and belittled by an out of control, politically motivated Attorney
General, to speak about the things that must be spoken about.




                                                         1 of 10
                  Case 1:20-cv-07311-LAK Document 256-1 Filed 01/12/24 Page 3 of 11




From: Hon. Arth ur Engoron <aengoron@nycourts.gov>
Date: Wednesday, January 10, 2024 at 10:57 AM
To : chris kise <chris@ckise.net>
Cc: Allison R. Greenfield <argreenf@nycourts.gov>, kevin.wallace@ag.ny.gov <Kevin.Wallace @ag.ny.gov>,
Clifford Robert <crobert@robertlaw.com>, Alina Habba <ahabba@habbalaw.com>,
ckise@continentalpllc.com <ckise@continentalpllc.com>, Amer, And rew <Andrew.Amer@ag.ny.gov>, Fah erty,
Colleen <Colleen.Faherty@ag.ny.gov>
Subject: Re: People v. Trump, et al., No. 452564/2022 - Closing Arguments January 11th

Dear Mr. Kise,

As I have already indicated to you, if Mr. Trump wishes to speak, pursuant to CPLR 321, you will have to tell me NOW
that he will agree to the limitations I have imposed, which go without saying and apply to everyone, and he will have to
agree to do so tomorrow, on the record, which should take no more than a minute or two.

Justice Engoron


From: chris kise <chris@ckise.net>
Date: Wednesday, January 10, 2024 at 10:51 AM
To: Hon. Arthur Engoron <aengoron@nycourts.gov>
Cc: Allison R. Greenfield <argreenf@nycourts.gov>, kevin.wallace@ag.ny.gov <Kevin.Wallace@ag.ny.gov>,
Clifford Robert <crobert@robertlaw.com>, Alina Habba <ahabba@habbalaw.com>,
ckise@continentalpllc.com <ckise@continentalpllc.com>, Amer, Andrew <Andrew.Amer@ag.ny.gov>, Faherty,
Colleen <Colleen.Faherty@ag.ny.gov>
Subject: Re: People v. Trump, et al., No. 452564/2022 - Closing Arguments January 11th

Justice Engoron

Despite the fact that his Mother-in Law, who he was very close to, passed away late last night,
President Trump will be speaking tomorrow.

Respectfully,

Chris

From: Hon. Arthur Engoron <aengoron@nycourts.gov>
Date: Wednesday, January 10, 2024 at 8:48 AM
To: ch ris kise <chris@ckise.net>
Cc: Allison R. Greenfield <argreenf@nycou rts.gov>, kevin.wa llace@ag.ny.gov <Kevin.Wallace@ag.ny.gov>,
Clifford Robert <crobert@robertlaw.com>, Alina Habba <ahabba@habbalaw.com>,
ckise@continentalpllc.com <ckise@continentalpllc.com>, Amer, Andrew <Andrew.Amer@ag.ny.gov>, Faherty,
Colleen <Colleen.Faherty@ag.ny.gov>
Subject: Re: People v. Trump, et al., No. 452564/ 2022 - Closing Arguments January 11th

Dear Mr. Kise,
                                                            2



                                                        2 of 10
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I am sorry to hear the sad news.

The request to postpone tomorrow's closing arguments is denied. I'm sure you realize, although you may not rea lize to
what extent, that every appearance of Mr. Trump requires court officers, court clerks, administrators, security details,
technical people, etc. to rearrange their schedules and to plan for the day. The administration even had t o "evict" the
jury t rial currently taking place in Room 300 for tomorrow. Of course, I am also anxious to hear a full day of closing
statements as I consider the case as a whole.

On balance, going forward makes the most sense. Please tell Mr. Trump that I am sorry.

I still hope and expect t o hear from you by 11:00 AM this morning as to whether all this is even an issue.

Justice Engoron
                        ..______        - - - - - - - - --- ------------
From: chris kise <chris@ckise.net>
Date: Tuesday, January 9, 2024 at 9:26 PM
To: Hon. Arthur Engoron <aengoron@nycourts.gov>
Cc: Allison R. Greenfield <argreenf@nycourts.gov>, kevin.wallace@ag.ny.gov <Kevin.Wallace@ag.ny.gov>,
Clifford Robert <crobert@robertlaw.com>, Alina Habba <ahabba@habbalaw.com>,
ckise@continentalpllc.com <ckise@continentalpllc.com>
Subject: People v. Trump, et al., No. 452564/2022 - Closing Arguments January 11th

Justice Engoron
I am sad to advise t he Court that Mrs. Trump's mother passed away this evening.
Because of the challenges presented by this deeply personal family matter, President Trump
has asked that I request the Court postpone the date for closing argument until on or after
January 29, 2024, so that he may attend and participate in the Court proceedings.
Respectfully,

Chris Kise




[                    Please be CAREFUL when clicking links or opening attachments from external senders. ~ - - - - - - . . . a




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                                                          3 of 10
                 Case 1:20-cv-07311-LAK Document 256-1 Filed 01/12/24 Page 5 of 11



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From:                            chris kise <chris@ckise.net>
Sent:                            Tuesday, January 9, 2024 4:18 PM
To:                              Hon. Arthur Engoron; Allison R. Greenfield
Cc:                              Solomon, Lou is; Wallace, Kevin; Alina Habba, Esq.; Clifford Robert;
                                 ckise@continentalpllc.com; Faherty, Colleen; Michael Farina; Amer, Andrew
Subject:                         Re: People v. Trump, et al., No. 452564/2022 - Closing Arguments January 11th



justice engoron

apoJogies as i did not see your deadline.
additionally, my client is in the air soi have not yet been able to discuss your email with him.
would therefore request you allow until tomorrow morning for any response.

thank you.

chris

From: Hon. Arthur Engoron <aengoron@nycourts.gov>
Date: Tuesday, January 9, 2024 at 4:16 PM
To: chris kise <chris@ckise.net>, Allison R. Greenfield <argreenf@nycourts.gov>
Cc: Solomon, Lou is <Louis.Solomon @ag.ny.gov>, Wallace, Kevin <Kevin.Wallace@ag.ny.gov>, Alina Habba,
Esq.<ahabba@ habbalaw.com>, Clifford Robert <crobert@robertlaw.com>, ckise @continentalpllc.com
<ckise@continentalpllc.com>, Faherty, Colleen <Colleen.Faherty@ag.ny.gov>, Michael Farina
<mfarin a@robertlaw.com>, Amer, Andrew <Andrew.Amer@ag. ny.gov>
Subject: RE: People v. Trump, et al., No. 452564/2022 - Closing Argument s January 11th

Dear Mr. Kise,

Not having heard from you or any of the other defense attorneys by t he 4:00 pm deadline, pursuant to CPLR
321, and for the reasons stated below, Mr. Trump may not speak in Court on this Thursday, January 11, 2024.

In order to preserve the record for appellate review, I will docket this email chain on NYSCEF.

Justice Engoron

From: Hon. Arthur Engoron
Sent: Tuesday, January 9, 2024 1:23 PM
To: chris kise <chris@ckise.net>; Allison R. Greenfield <argreenf@nycourts.gov>
Cc: Solomon, Louis <Louis.Solomon@ag.ny.gov>; Wallace, Kevin <Kevin.Wallace@ag.ny.gov>; Alina Habba, Esq.
<ahabba@habba law.com>; Clifford Robert <crobert@robertlaw.com>; ckise@continentalpllc.com; Faherty, Colleen
<Colleen.Faherty@ag.ny.gov>; Michael Farina <mfarina@robertlaw.com>; Amer, Andrew <Andrew.Amer@ag.ny.gov>
Subject: RE: People v. Trump, et al., No. 452564/2022 - Closing Arguments January 11th

Dear Mr. Kise,
                                                           1



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~Your and your client's rej:ction of the reasonable, normal limits I am imposing on any argument by Mr. Trump,
 which are the same limits that the law imposes on any person making a closing argument, completely justifies
 the need to impose them. Closing arguments are for an advocate to comment on the evidence presented, on
 the relevant law, and on how the latter applies to the former to justify the result sought. Such arguments may
 not be used to testify, to introduce new evidence, to make a campaign speech, or to comment on irrelevant
 matters. People v Kennedy, 177 AD3d 628, 630 (2d Dept 2019) ("[T] he trial court may preclude summation
 arguments that are speculative and unsupported by any evidence"); People v Ramirez. 150 AD3d 898, 899 (2d
 Dept 2019) ("Summation is not an unbridled debate in which the restraints imposed at trial are cast aside so
 that counsel may employ all the rhetorical devices at his [or her] command"); People v Hightower. 176 AD3d
 865, 867 (2d Dept 2019) ("Counsel must, among other things, 'stay within "the four corners of the evidence"
 and avoid irrelevant and inflammatory comments'").

Anyone can comment on the arguments of an opposing party or counsel, but may not seek to impugn their
character. Of course I will apply common sense if there is any issue or doubt, but I will not let anyone violate
the normal rules of courtroom procedure that govern closing arguments.

The limitations I am imposing, in my absolute discretion, are not subject to further debate. Take it or leave
it. Please let me know which by 4:00 pm today.

Justice Engoron



 From: chris kise <chris@ckise.net>
Sent: Tuesday, January 9, 2024 11:10 AM
To: Hon. Arthur Engoron <aengoron@nycourts.gov>; Amer, Andrew <Andrew.Amer@ag.ny.gov>; Allison R. Greenfield
<argreenf@nycourts.gov>
Cc: Solomon, Louis <Louis.Solomon@ag.ny.gov>; Wallace, Kevin <Kevin.Wallace@ag.ny.gov>; Alina Habba, Esq.
<ahabba@habbalaw.com>; Clifford Robert <crobert@robertlaw.com>; ckise@continentalpllc.com; Faherty, Colleen
<Colleen.Faherty@ag.ny.gov>; Michael Farina <mfarina@robertlaw.com>
Subject: Re: People v. Trump, et al., No. 452564/2022 - Closing Arguments January 11th


justice engoron

 thank you for your response and proposal below.

first, i agree that, in a non-jury trial (and especially this trial) your inclination to let everyone
have his or her say is the best approach. also agree that the more reasoned analysis you
receive, the better you will be able to decide the case correctly. additionally, and as you note,
president trump has by far the most at stake in this enforcement action. therefore, allowing
him to make a statement is not only the best course of action, it is the fair and correct
approach.

however, he cannot agree (nor would i recommend he do so) to the proposed preconditions
and prior restraints.


                                                        2



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as an initial matter, under the present circumstances where the AG seeks the unconscionable
and draconian penalty of prohibiting president trump, who has contributed both
professionally and personally to the economic development, job growth, and real estate
footprint of new york for some fifty years, from ever again engaging in any lawful business
activity in new york even though the evidence at trial established he did nothing wrong. given
same, he most assuredly should be accorded an opportunity to address the court.

further, the preconditions and prior restraints you propose are fraught with ambiguities,
creating the substantial likelihood for misinterpretation or unintended violation. for example,
the notion he could not comment on the AG, the plaintiff, is simply untenable. moreover,
given the history of these proceedings, agreement to such ambiguous limitations will no doubt
simply create further disagreements.

therefore, while as noted i agree with your stated conclusions that the fair and best approach
is to allow president trump to make a statement, he cannot agree to the proposed limitations
and prior restraints. the existing gag order, although on appeal, remains. but there should
otherwise not be further prior restraints on any statement he provides at closing.

please advise as to whether you will permit president trump to speak at closing without the
proposed limitations.

thank you.

respectfully,

chris


 - - - - - - --- --- - - - - - - - - - - - - -
From: Hon. Arthur Engoron <aengoron@nycourts.gov>
Date: Friday, January 5, 2024 at 1:18 PM
To: Amer, Andrew <Andrew.Amer@ag.ny.gov>, Allison R. Greenfield <argreenf @nycourts.gov>
Cc: chris kise <chris@ckise.net>, Solomon, Louis <Louis.Solomon@ag.ny.gov>, Robert Apicella
<rapicell@nycourts.gov>, Wallace, Kevin <Kevin.Wallace@ag.ny.gov>, Alin a Habba, Esq.
<ah abba@habbalaw.com>, Clifford Robert <crobert@robertlaw.com>, ckise@continentalpllc.com
<ckise@continentalpllc.com>, Faherty, Colleen <Colleen.Faherty@ag.ny.gov>, Michael Farina
<mfarina@robertlaw.com>
Subject: RE: People v. Trump, et al., No. 452564/2022 - Closing Arguments January 11th

Dear Counselors,

In the email to which this email responds, Mr. Kise announced that defendant Donald J. Trump "plans t o present argument at
closing." Pursuant to CPLR 321, "If a party appears by attorney, such party may not act in person in the action except by consent of
the court." Mr. Trump obviously "appears by attorney." Thus, and as far as my research has revealed, whet her he may present a
closing argument is completely at my discretion.


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Particularly in a non-jury trial, I am inclined to let everyone have his or her say. Moreover, the more reasoned analysis I receive, the
better I will be able to decide the case correctly. Furthermore, Mr. Trump is the person with by far the most at stake in this
enforcement action.

Thus, in my sole discretion, I will consent to let Mr. Trump make a closing argument if, and only if, through counsel by 1/9/2024, and
by himself, personally, on the record, just before he speaks, he agrees to limit his subjects to what is permissible in a counsel's
closing argument, that is, commentary on the relevant, material facts that are in evidence, and application of the relevant law to
those facts. He may not seek to introduce new evidence. He may not "testify." He may not comment on irrelevant matters. In
particular, and without limitation, he may not deliver a campaign speech, and he may not impugn myself, my staff, plaintiff,
plaintiffs staff, or the New York State Court System, none of which is relevant to this case, and all of which, except commenting on
my staff, can be done, and is being done, in other forums. If Mr. Trump violates any of these rules, I will not hesitate to cut him off
in mid-sentence and admonish him. If he continues to violate the rules, I will end his closing argument and prevent him from making
any further statements in the courtroom. If he violates the current gag order against him, I will immediately direct court officers to
remove him from the courtroom forthwith and will fine him not less than $50,000. Finally, he must state on the record before he
begins to speak that he also understands that, without exception, defendants, collectively, have only from 10:15 to 12:45, with one
15-minute break, to present their arguments, meaning that whatever time he speaks is time that other defense attorneys will not
have.

Plaintiff will also have two hours and 15 minutes, from 2:15 to 4:30, to present closing arguments.

Mr. Kise, please respond.

Justice Engoron


From: Amer, Andrew <Andrew.Amer@ag.ny.gov>
Sent: Thursday, January 4, 2024 5:13 PM
To: Allison R. Greenfield <argreenf@nycourts.gov>; Hon. Arthur Engoron <aengoron@nycourts.gov>; Garth A. Johnston
<GAJOHNST@nycourts.gov>
Cc: chris kise <chris@ckise.net>; Solomon, Louis <Louis.Solomon@ag.ny.gov>; Robert Apicella <rapicell@nycourts.gov>;
Wallace, Kevin <Kevin.Wallace@ag.ny.gov>; Alina Habba, Esq.<ahabba@habbalaw.com>; Clifford Robert
<crobert@robertlaw.com>; ckise@continentalpllc.com; Faherty, Colleen <Colleen.Faherty@ag.ny.gov>; Michael Farina
<mfarina@robertlaw.com>
Subject: RE: People v. Trump, et al., No. 452564/2022 - Closing Arguments January 11th

Justice Engoron, Ms. Greenfield, and Mr. Johnston-

Plaintiff opposes Defendants' plan to have Mr. Trump present any portion of their closing argument.

Mr. Trump is certainly not permitted to do so as of right. Under the CPLR if a party "appears by attorney such party may
not act in person in the action except by consent of the court." CPLR 321(a). Even in criminal proceedings where the
Sixth Amendment and the State Constitution afford a defendant the right to counsel or to self-representation, they do
not guarantee a right to both. People v. Rodriguez, 95 N.Y.2d 497, 501 (2000). "These are 'separate rights depicted on
the opposite sides of the same [constitutional] coin. To choose one obviously means to forego the other."' Id. (quoting
United States v. Purnett, 910 F.2d 51, 54 (2d Cir. 1990)). There is no right to "hybrid" representation, in which a
defendant is "represented by counsel from time to time, but may slip into prose mode for selected presentations." See
Clark v. Perez, 510 F.3d 382, 395 (2d Cir. 2008); see also U.S. v. Rivernider, 828 F.3d 91, 108 (2d Cir. 2016). "By accepting
counseled representation, a defendant assigns control of much of the case to the lawyer, who, by reason of training and
experience, is entrusted with sifting out weak arguments, charting strategy and making day-to-day decisions over the
course of the proceedings." Rodriguez, 95 N.Y.2d at 501-02. Accordingly, a defendant who chooses to defend through
counsel in criminal or civil actions cannot, as of right, present closing arguments. People v. Richardson, 4 N.Y.2d 224, 227
(1958).


Nevertheless, the Court has the power, in the exercise of its discretion, to grant a specific application for limited
participation of a defendant as counsel, but only when doing so will not unduly disrupt the orderly administration of

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justice or unfairly prejudice the prosecution's interests. See Richardson, 4 N.Y.2d 224 at 229; People v. Powell, 98 Misc.
2d 460, 461, (N.Y. Sup. Ct. Kings Cty. 1979). Allowing Mr. Trump to present even a portion of Defendants' closing
argument would do both. The Court has already found that Mr. Trump is prone t o giving irrelevant speeches, lacks self-
control, is evasive in responding to questions (Tr. 3493:05-3495:04), and has repeatedly violated court orders for which
he has been sanctioned. Allowing Mr. Trump to present closing argument will invite more speeches that will "unduly
disrupt" the proceedings. Richardson, 4 N.Y.2d 224 at 229. Moreover, Mr. Trump had the right to present testimony on
Defendants' affirmative case but elected at the last minute not to do so (explaining in a subsequent social media post
that he "already testified to everything and [has] nothing more to say"). Allowing Mr. Trump to participate in closing
arguments would effectively grant him an opportunity to testify without being subject to cross-examination, thereby
depriving the People of a fundamental right to their significant prejudice - especially in light of the Court's prior
determination that Mr. Trump was not a credible witness (NYSCEF No. 1598 at 2). Cf Barnes v. City of New York, 44
A.D.3d 39, 46 (1st Dep't 2007) ("By avoiding his obligation to testify at a trial in which he was seeking millions of dollars,
plaintiff was able to frustrate the City's fundamental common-law right to cross-examine a witness.").

Mr. Kise's email should be treated as an application to allow Mr. Trump to present closing argument and, for the reasons
above, should be denied.

Respectfully,




Andrew Amer I Special Counsel
New York State Office of the Attorney General
Executive Division
28 Liberty Street
New York, NY 10005
Tel: (212) 416-6127
Email: Andrew.Amer@ag.ny.gov



From: chris kise <chris@ckise.net>
Sent: Thursday, January 4, 2024 12:47 PM
To: Allison R. Greenfield <argreenf@nycourts.gov>; Wallace, Kevin <Kevin.Wallace@ag.ny.gov>; Amer, Andrew
<Andrew.Amer@ag.ny.gov>; Alina Habba, Esq.<ahabba@habbalaw.com>; Solomon, Louis <Louis.Solomon@ag.ny.gov>;
Michael Farina <mfarina@robertlaw.com>; Faherty, Colleen <Colleen.Faherty@ag.ny.gov>; ckise@continentalpllc.com;
Clifford Robert <crobert@robertlaw.com>
Cc: Hon. Arthur Engoron <aengoron@nycourts.gov>; Garth A. Johnston <GAJOHNST@nycourts.gov>; Robert Apicella
<rapicell@nycourts.gov>
Subject: Re: People v. Trump, et al., No. 452564/2022 - Closing Arguments January 11th

ms greenfield

happy new year!

at this time the defense anticipates that closing arguments will take approximately 2 hours - 2
hours 15 minutes total.
i will present the more extensive argument, and then ms. habba and mr. robert will also
present more limited arguments.
additionally, president trump plans to present argument at closing as well.
but we anticipate all such arguments will be completed within the above time estimate.
                                                              5



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as a practical matter, t his means the defense will be done before the lunch break, leaving
ample time for the attorney general the remainder of the day.

please advise if you have any further questions.

thank you.

chris kise




From: Allison R. Greenfield <argreenf@nycourts.gov>
Date: Thursday, January 4, 2024 at 11:24 AM
To: Wallace, Kevin <Kevin.Wallace@ag.ny.gov>, Amer, Andrew <Andrew.Amer@ag.ny.gov>, Alina Habba, Esq.
<ahabba@habbalaw.com>, Solomon, Louis <Louis.Solomon@ag.ny.gov>, Michael Farina
<mfarina@robertlaw.com>, Faherty, Colleen <Colleen.Faherty@ag.ny.gov>, ckise@continentalpllc.com
<ckise@continentalpllc.com>, chris kise <chris@ckise.net>, Clifford Robert <crobert@robertlaw.com>
Cc: Hon. Arthur Engoron <aengoron@nycourts.gov>, Garth A. Johnston <GAJOHNST@nycourts.gov>, Robert
Apicella <rapicell@nycourts.gov>
Subject: RE: People v. Trump, et al., No. 452564/2022 - Closing Arguments January 11th

Dear Mr. Wallace,

Thank you for your response. The Court is currently operating under the assumption that we will follow the normal
practice of defendants going first and plaintiff going last. We will, however, wait to hear back from defendants.



Allison R. Greenfield
Principal Law Clerk t o Hon. Arthur F. Engoron
New York County Supreme Court
60 Centre Street, Courtroom 418
New York, New York 10007
(646) 386-4374




From: Wallace, Kevin <Kevin.Wallace@ag.ny.gov>
Sent: Thursday, January 4, 2024 11:05 AM
To: Allison R. Greenfield <argreenf@nycourts.gov>; Amer, Andrew <Andrew.Amer@ag.ny.gov>; Alina Habba, Esq.
<ahabba@habbalaw.com>; Solomon, Louis <Louis.Solomon@ag.ny.gov>; Michael Farina <mfarina@robertlaw.com>;
Faherty, Colleen <Colleen.Faherty@ag.ny.gov>; ckise@continentalpllc.com; chris kise <chris@ckise.net>; Clifford Robert
<crobert@robertlaw.com>
Cc: Hon. Arthur Engoron <aengoron@nycourts.gov>; Garth A. Johnston <GAJOHNST@nycourts.gov>; Robert Apicella
<rapicell@nycourts.gov>
Subject: RE: People v. Trump, et al., No. 452564/2022 - Closing Arguments January 11th

M s. Greenfield -



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At this time, we anticipate that closing argument for OAG will take an hour and be conducted by one person from our
team; either me or Mr. Amer. That estimate could change depending on the arguments from Defendants in their
proposed findings of fact and conclusions of law and in their closings. This is also based on an assumption that closing
arguments will follow standard practice with Defendants presenting first and Plaintiff presenting second. If any of those
assumptions are incorrect or if more t ime is required we might divide up the argument. We will let the Court know if we
think t hat becomes necessary. We also anticipate that other members of our trial team could address specific questions
from the Court if they involve areas of their expertise.

Best regards,

KCW


From: Allison R. Greenfield <argreenf@nycourts.gov>
Sent: Wednesday, January 3, 2024 11:57 AM
To: Amer, Andrew <Andrew.Amer@ag.ny.gov>; Alina Habba, Esq.<ahabba@habbalaw.com>; Solomon, Louis
<Louis.Solomon@ag.ny.gov>; Michael Farina <mfarina@robertlaw.com>; Faherty, Colleen
<Colleen.Faherty@ag.ny.gov>; ckise@continentalpllc.com; chris kise <chris@ckise.net>; Clifford Robert
<crobert@robertlaw.com>; Wallace, Kevin <Kevin.Wallace@ag.ny.gov>
Cc: Hon. Arthur Engoron <aengoron@nycourts.gov>; Garth A. Johnston <GAJOHNST@nycourts.gov>; Robert Apicella
<rapicell@nycourts.gov>
Subject: RE: People v. Trump, et al., No. 452564/2022 - Closing Arguments January 11th
Importance: High

I[EXTERNAL)
Dear Counselors:

I write to advise you that we will be back in Room 300 on January 11th for closing arguments. However, as the NRA t rial
will already have started, the Courtroom will be set up differently than it was for t ria l testimony. I have copied Rob on
this email so that you may clear any tech questions with him.

Additionally, Justice Engoron would like to know how many people, and who, will be speaking for each side, and how
much time each person, or each side, wants. Please keep in mind we only have the one day.

Thank you,

Allison R. Greenfield
Principal Law Clerk to Hon. Arthur F. Engoron
New York County Supreme Court
60 Centre Street, Courtroom 418
New York, New York 10007
(646) 386-4374




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